              Case 1:10-cr-00086-RWS-CMS Document 628 Filed 11/14/11 Page 1 of 5




                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

             UNITED STATES OF AMERICA,               :      CRIMINAL ACTION
                                                     :
             v.                                      :      NO: 1:10-CR-086-RWS-ECS
                                                     :
             MIGUEL ALVARADO-LINARES,                :
             ERNESTO ESCOBAR, and,                   :
             KENEDIS BONILLA                         :

                                       REPORT AND RECOMMENDATION

                     This matter is before the Court on Defendants’ motions to

             dismiss for lack of subject matter jurisdiction, [Docs. 377, 392,

             413].    Defendants seek a dismissal of the indictment, arguing that

             the allegations described in Count One, [Doc. 1, at 2-20], do not

             state an offense cognizable under the United States Constitution or

             the RICO statute, 18 U.S.C. § 1962(c).             [Docs. 377, at 1-2; 392, at

             1-2;    413,   at    1-2].    For      the    reasons    set   forth   herein,    the

             undersigned recommends that the motions to dismiss for lack of

             subject matter jurisdiction be DENIED.

                                                     I.
                                                 Background

                     The Government has charged Defendants with various crimes,

             including membership in a racketeering conspiracy in violation of

             federal    law.      [Doc.   1,   at    2].     The     indictment     alleges   that

             Defendants were “engaged in ... activities ... which affected

             interstate and foreign commerce” in violation of 18 U.S.C. §

             1962(c)(“RICO”) and that Defendants agreed and participated in an




AO 72A
(Rev.8/82)
              Case 1:10-cr-00086-RWS-CMS Document 628 Filed 11/14/11 Page 2 of 5




             enterprise engaged in a pattern of racketeering activity, including

             threats or acts of murder, kidnapping, and robbery. [Doc. 1, at 6].

             Defendants contend that the limitations on the reach of federal

             jurisdiction under the Commerce Clause, which require a necessary

             nexus between the charged crimes and the federal government, prevent

             the Government from prosecuting Defendants for the aforementioned

             crimes. See generally [Doc. 392].1 In its response, the Government

             counters that the indictment not only alleges that Defendants’

             activities affected interstate commerce, but also alleges facts

             that, if proven, would establish the necessary nexus between the

             activities of Defendants’ enterprise and interstate commerce. [Doc.

             427, at 1-2].

                                            II.
                Motions to Dismiss for Lack of Subject Matter Jurisdiction

                  In support of their argument that the allegations in Count One

             do not state a cognizable claim under RICO or the Constitution,

             Defendants rely on the United States Supreme Court cases of United

             States v. Lopez, 514 U.S. 549, 115 S.Ct. 1904 (1995); United States

             v. Morrison, 529 U.S. 598, 120 S.Ct. 1740 (2000); and Jones v.

             Unites States, 529 U.S. 848, 120 S.Ct. 1904 (2000). [Doc. 392, at


                  1
                     Defendants’ motions, [Docs. 377, 392, 413], set forth the
             same general argument with regard to the scope of the Commerce
             Clause and its relation to the instant indictment, namely, that the
             allegations do not support a finding that a sufficient link exists
             between interstate commerce and a federal crime.

                                                 2




AO 72A
(Rev.8/82)
              Case 1:10-cr-00086-RWS-CMS Document 628 Filed 11/14/11 Page 3 of 5




             2-14].    These cases set forth principled limitations on Congress’s

             power under the Commerce Clause to regulate non-economic crimes

             “based solely on that conduct’s aggregate effect on interstate

             commerce,” see Morrison, 529 U.S. at 617-18.         However, none of the

             cases    cited   by   Defendants   involve   challenges   to   RICO   or   the

             congressional authority to regulate that which RICO makes unlawful.

             RICO prohibits participation in an enterprise engaging in activities

             that affect interstate commerce through a pattern of racketeering

             activity.     See 18 U.S.C. § 1962(c).        Cases in this circuit have

             interpreted the term “affect interstate commerce” in the RICO

             context as requiring “only a slight effect on interstate commerce.”

             United States v. Flores, 572 F.3d 1254, 1267 (11th Cir. 2009)

             (citing United States v. Beasley, 72 F.3d 1518, 1526 (11th Cir.

             1996)). The statute defines “racketeering activity” to include “any

             act or threat involving murder, kidnapping ... [or] robbery ...

             which is chargeable under State law.”            18 U.S.C. § 1961(1).       A

             pattern of such activity is established with proof of “at least two

             acts of racketeering activity.”        § 1961(5).

                     To the extent Defendants challenge the constitutionality of

             RICO by citing Lopez and its progeny, or, more particularly, whether

             the   criminal    conduct   alleged   is     sufficient   to   establish    an

             interstate nexus with commerce, the Court need not expound on these

             issues at this time.      The indictment     alleges a federal offense and

                                                   3




AO 72A
(Rev.8/82)
              Case 1:10-cr-00086-RWS-CMS Document 628 Filed 11/14/11 Page 4 of 5




             states that interstate commerce was affected by Defendants’ criminal

             actions.     [Doc. 1, at 6].      Moreover, the indictment alleges that

             Defendants       were   members   of     a   racketeering     enterprise    and

             participated in a pattern of racketeering activity, including the

             commission of multiple acts of murder, kidnapping, and robbery – all

             of which, taken together, state a claim under RICO.2 Id.               Thus, the

             issue of whether the “conduct and connections to commerce alleged

             in the instant indictment do not and cannot create a direct,

             substantial economic effect on interstate commerce ... sufficient

             to justify a link to federal jurisdiction,” [Doc. 392, at 12], is

             not ripe at this time.            As stated, the indictment alleges a

             cognizable federal offense and that the underlying criminal acts

             affected interstate commerce.            Should a question remain as to

             whether    the    Government   has     proved   that   the   alleged   criminal

             activities establish the necessary nexus to commerce, Defendants may

             raise this issue at trial or on appeal, as appropriate.




                  2
                    The Government also contends that evidence will be presented
             at trial proving that Defendants’ activities had at least a slight
             effect on interstate commerce.      See [Doc. 427, at 4-5].      For
             example, the Government alleges that it will offer facts showing the
             enterprise procured and circulated firearms outside the state of
             Georgia, assisted other members in traveling to and from Georgia,
             and sent money to support gang activities in foreign countries. Id.


                                                      4




AO 72A
(Rev.8/82)
              Case 1:10-cr-00086-RWS-CMS Document 628 Filed 11/14/11 Page 5 of 5




                                                IV.
                                            Conclusion

                  For the reasons set forth above, it is RECOMMENDED that the

             Defendants’   motions   to   dismiss    for   lack   of   subject     matter

             jurisdiction, [Docs. 377, 392, 413], be DENIED.



                  SO REPORTED AND RECOMMENDED, this 14th day of November, 2011.

                                              /s/ E. Clayton Scofield
                                               E. Clayton Scofield III
                                               United States Magistrate Judge




                                                 5




AO 72A
(Rev.8/82)
